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ll\l THE UNITED STATES COURT
FOR THE DlSTRlCT OF MARYLAND
Northern Division

LM RESTAURANTS, INC., * Civil Action No.
Plaintiff, *

V. *

DMC ENTERPR[SES, lNC. *

d/b/a PADONIA ALE HOUSE,

COMPLAINT - JURY TRIAL DEMANDED

 

Plaintil`t` Ll\/l Restaurants, lnc. (“Ll\/IR”), complains of Del`endant Dl\/[C Enterprises, lnc.,

doing business as PADONIA ALE HOUSE (“Padonia”), as follows:

PARTIES
1. LMR is a North Carolina corporation With its principle place of business in
Raleigh7 North Carolina_
2. Upon information and belief`, Padonia is a l\/laryland corporation
3. Padonia has a principle place of business in Timonium, l\/[aryland.
JURISDICTION AND VENUE

 

4. This case is brought pursuant to the Lanham Act, 15 U.S.C. 1051, et seq., and the
Copyright Act7 17 U_S_C_ 101, el seq. This Court has jurisdiction pursuant to 28 U_S.C_ § 1331_
This Court has jurisdiction over LMR’s state law claims arising under the same nucleus of facts
pursuant to 28 U.S.C. § l367.

5. Padonia does business in this judicial district and operates at 63 E Padonia Road,

Timonium, MD 21093.

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FACTS

6. LMR is a North Carolina based restaurant management company LMR manages
and operates restaurants7 to include the chain of sports-themed restaurants known as the
CAROLINA ALE HOUSE (“CAH”).

7. Ll\/IR started CAH in Raleigh in l999. Since then, LMR expanded the CAH to
twenty one locations in states along the Eastern Seaboard and an additional location in Texas.
Lauded as one of the fastest growing private companies in the Raleigh, North Carolina area, the
CAH continues to actively expand its operations and add restaurant locations Four more CAH
locations are set to open in the near future.

8. Ll\/IR owns the CAH brand, as well as all intellectual property associated with the
chain.

9. LMR owns U.S. Service Marl< Registration No. 3,038,753 for the CAH stylized
logo used in conjunction with restaurant and sports bar services A copy ofLMR’s federal
registration is attached hereto as EXhibit A. LMR also has common law rights in its CAH

trademarks A copy of LMR’s CAH logo is shown below:

 

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10. In designing the CAH logo, LMR used the Fritz Quadrata Bold font for ALE
HOUSE LMR designers then made stylized changes to the A in “Ale” and the S in “House.”
Because these stylized changes were specially created by LMR, they are not available as part of
Fritz Quadrata Bold font packages

l l. Ll\/IR selected, coordinated, arranged, and designed the unique arrangement of
colors, patterns, terms, fonts, and visual textures shown in the CAH logo.

12. The CAH logo comprises a work of art, copyrightable under 17 U.S.C. 101 et seq.

13. LMR submitted a completed Application for Copyright Registration with the
Copyright Office. LMR included with its completed application the necessary fees and deposit
material The deposit material depicts the colored, stylized CAH logo.

14. Ll\/IR actively works to promote, protect, and advertise its CAH brand LMR
spends substantial advertising dollars marketing its services under the CAROLlNA ALE
HOUSE marks EXamples of LMR’s CAH promotion efforts include:

a. LMR markets its CAH restaurant services through various advertising media,

including on the lnternet at www.carolinaalehouse.com. From this website, users

 

and guests can learn about specials and events happening at the CAH restaurants,
can access the CAH online newsletter, access photo galleries of various events
hosted by the CAH, and can learn about CAH’s philanthropy and community
involvement

b. Ll\/IR markets the CAH brand on social media sites including Facebook
(www.facebook.com/CarolinaAleHouseOfficial) and Twitter
(twitter.com/carolinalehouse). 1n addition to the main CAH sites, many CAH

locations also have individual Facebook pages and Twitter feeds where they

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communicate with the patrons of those locations For example, the CAH’s Cary
location’s Facebook page includes ticket give-aways, announcements of
upcoming events, and news
c. For nearly 10 years, LMR has been a major sponsor of the Carolina Hurricanes
professional hockey team. The CAROLTNA ALE HOUSE mark is visible both
in-game and on national television advertising spots during Hurricanes’ games
Additional high-profile promotions associated with the Hurricanes include away
game viewing parties at selected Carolina Ale House locations in the Triangle
with appearances by the Hurricanes’ mascot and cheerleaders
d. Ll\/IR further advertises in print media, newspapers trade journals, magazines,
signs, banners, and on numerous promotional materials
e. LMR recently received a national accolade, the VlBE Vista Award, for excellence
in its menu design, which prominently features the CAROLINA ALE HOUSE
mark.
15 . The CAH brand is the main brand used by LMR and its authorized licensees The
CAH brand is used on signs, menus, advertisements, the Internet, and social media Examples of
the CAH brand used in signs, advertisements and menus are shown below:
-"FREE APPi;TizE'n

l lL.lp l:o $6.99 with purchase ol:_pri enl:[ee
-; ‘ _- Expires 6.30.]1 ' l

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16. The CAH brand is well known, built on considerable good will, and has a strong,
positive reputation Consumers have come to know the CAH for its commitment to serving
quality food in sports-themed environments reminiscent of the community-centric ale houses in
the United Kingdom.

17. ln 2013, an LMR employee saw Padonia’s logo and initially was confused in
thinking that LMR was opening a new CAH location LMR then learned that Padonia was using
LMR’s CAH logo without LMR’s permission LMR investigated and learned that Padonia had
recently changed from doing business as “Padonia Station” to “Padonia Ale House_” As part of

its rebranding, Padonia blatantly copied LMR’s registered CAH trademark, made minor changes

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and branded Padonia’s restaurant with a confusingly similar mark Examples of Padonia’s use of

this confusingly similar mark are shown below:

 

18. A side by side comparison of the CAH mark and the Padonia mark show the

confusing similarity between the marks

 

19_ Padonia copies nearly every significant aspect of the CAH logo_ In particular, the
Padonia and CAH logos use the same font, background, layout, and nearly identical verbiage and

colors The Padonia logo even copies details of the CAH logo, such as the circle of small

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triangles around the inner circumference of the wooden ring. The Padonia logo attempts to
mimic the stylized changes LMR made to the A in Ale and the S in House.

20. Padonia is using its logo to offer identical services as those offered by LMR under
the CAH logo, namely restaurant and sports bar services

21. Ll\/IR and Padonia offer their services to the same group of consumers through the
same channels Both Ll\/IR and Padonia offer brick and mortar restaurants to consumers who
enjoy casual restaurants and sports bars LMR and Padonia both maintain presences on social
media sites to include Facebook and Twitter, and both advertise through lnternet webpages

22. Soon after discovering of Padonia’s logo, LMR informed Padonia in writing of
LMR’s rights and requested that Padonia immediately cease using the logo. Other than
acknowledging receipt of the letter, Padonia did not respond and continues to use the logo to this
day, with full knowledge of LMR’s rights in the CAH logo.

23 Padonia continues to use its infringing copy of the CAH logo, in willful violation
of LMR’s rights

COUNT l
lnfringement of a Registered Trademark, 15 U.S.C. 8 1114.

24. Ll\/IR realleges paragraphs 1-23.
25. LMR owns incontestable federal Trademark Registration No. 3,038,753 for the

CAH logo shown below;

 

26. LMR uses its CAH logo in conjunction with restaurant and sports bar services

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27. Padonia uses a mark confusingly similar to LMR’s CAH logo to offer restaurant
and sports bar services

28. LMR and Padonia target the same group of consumers namely consumers who
enjoy sports bars and casual restaurants through the same channels of trade, to include the
lnternet and social networking websites.

29. Padonia’s use of its infringing logo in conjunction with restaurant services

30. On information and belief, Padonia’s copying has been deliberate, willful,
intentional, and in bad faith, with disregard of LMR’s rights and with intent to deceive or to
create mistake or confusion in the minds of consumers

31 . Upon information and belief, Padonia’s wrongful conduct has permitted Padonia
to earn substantial revenues and profits on the strength of LMR’s registered CAH logo and
goodwill

32. LMR cannot be adequately compensated for these injuries by damages alone, and
has no adequate remedy at law for Padonia’s infringement LMR is entitled to injunctive relief,
as well as enhanced damages and attorneys’ fees

COUNT II
Trademark lnfringement, 15 U.S.C. § 1125(3).

 

33. LMR realleges paragraphs 1-32.

34. LMR owns common law trademark rights in the colored CAH logo shown below:

 

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35. Ll\/IR uses its colored CAH logo in conjunction with restaurant and sports bar
services
36. Padonia uses a mark confusingly similar to LMR’s colored CAH logo to offer

restaurant and sports bar services Padonia’s confusingly similar mark uses similar colors and
backgrounds as those found in the colored CAH logo.

37. Ll\/IR and Padonia target the same group of consumers namely consumers who
enjoy sports bars and casual restaurants through the same channels of trade, to include the
lnternet and social networking websites.

38. Padonia’s use of its infringing logo in conjunction with restaurant services

39. On information and belief, Padonia’s copying has been deliberate, willful,
intentional, and in bad faith, with disregard of Ll\/IR’s rights and with intent to deceive or to
create mistake or confusion in the minds of consumers

40. Upon information and belief, Padonia’s wrongful conduct has permitted Padonia
to earn substantial revenues and profits on the strength of LMR’s colored CAH logo and
goodwill

41. Ll\/IR cannot be adequately compensated for these injuries by damages alone, and
has no adequate remedy at law for Padonia’s infringementl LMR is entitled to injunctive reliefj
as well as enhanced damages and attorneys’ fees

COUNT III

Unl`air and Deceptive Trade Practices, lV[D. Code Ann., Com. Law, 8 13-301.

42. Ll\/IR realleges paragraphs 1-41.

43 LMR owns trademark rights in the CAH logo and colored CAH logo shown

below:

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44. LMR uses its CAH logos in conjunction with restaurant and sports bar services

45 . Padonia uses a mark confusingly similar to LMR’s CAH logo to offer restaurant
and sports bar services

46. LMR and Padonia target the same group of consumers namely consumers who
enjoy sports bars and casual restaurants through the same channels of trade7 to include the
lnternet and social networking websites

47. Padonia’s use of its infringing logo in commerce to sell, offer for sale, distribute,
or advertise goods and services is likely to cause confusion, mistake, or deception among
consumers

48. Padonia’s use of its infringing logo is a misleading visual description or other
representation which has the eapacity, tendency, or effect of deceiving or misleading consumers

49. Padonia’s use of its infringing logo represents that Padonia has a sponsorship,
approval, status affiliation, or connection with LMR when, in fact, Padonia has no such
sponsorship, approval, status affiliation or connection with LMR.

50. On information and belief, Padonia’s copying has been deliberate, willful7
intentional, and in bad faith, with disregard of LMR’s rights and with intent to deceive or to

create mistake or confusion in the minds of consumers

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51. Upon information and belief, Padonia’s wrongful conduct has permitted Padonia
to earn substantial revenues and profits on the strength of LMR’s registered CAH logo and
goodwill

52. LMR cannot be adequately compensated for these injuries by damages alone, and
has no adequate remedy at law for Padonia’s infringement LMR is entitled to injunctive relief
and monetary damages

COUNT IV
Copyright Infringement, 17 U.S.C. 8 501.

53. LMR realleges paragraphs 1-52.

54_ LMR owns the distinctive artwork comprising the CAH stylized logo_

55 . Ll\/IR filed a U.S. copyright application to register the CAH stylized logo with the
Copyright Office. The Copyright Application is complete and was accompanied by the
necessary fees and with a copy of the deposit material for the CAH logo. That logo is shown

below:

 

56. Padonia prepared a derivative work ofLMR’s copyrighted stylized logo, and
reproduced and distributed copies of the same to the public without LMR’s permission
57_ On information and belief, Padonia’s copying has been deliberate7 willful7

intentional, and in bad faith, with disregard of LMR’s rights

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58. Ll\/IR cannot be adequately compensated for these injuries by damages alone, and
has no adequate remedy at law for Padonia’s infringement LMR is entitled to injunctive reliefj
as well as monetary damages

PRAYER FOR RELIEF

WHEREFORE Plaintiff respectfully prays the Court to:

A. Find that Padonia infringed Ll\/IR’s rights in its CAH marks and that such
infringement was willful;

B. Find that Padonia infringed LMR’s copyright in the CAH stylized logo and that

such infringement was willful',

C. Grant LMR its actual damages in an amount to be determined at trialj,
D. Disgorge Padonia’s profits obtained for sales under the infringing marks
E. Perinanently enjoin Padonia from using the CAH marks and any marks

confusingly similar thereto, as well as LMR’s stylized CAH logo artwork;

F. Order the destruction of all articles bearing the infringing mark;

G. Find this case exceptional and grant LMR its attorneys’ fees pursuant to the
Lanham Actj,

H. Order the costs of this action and prejudgment interests be taxed against Padonia;,
and

I. Grant LMR such other and further relief as the Court may deem just and proper
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DEMAND FOR JURY TRIAL

 

LMR demands a trial by jury be held on all issues so triable

Dated: August 26, 2014.

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